      Case 1:09-cr-00142-NONE Document 88 Filed 11/12/10 Page 1 of 2


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     Attorney for Defendant
 5   LOUISE BOOTH
 6
 7
 8                  IN THE UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )       CR-F-09-CR 000142 LJO
                                        )
12         Plaintiff,                   )       STIPULATION TO CONTINUE
                                        )       PROCEEDINGS UNTIL
13                                      )       DATE OF CODEFENDANT’S
           v.                           )       SENTENCING
14                                      )
                                        )
15                                      )       Date to be set: 3/11/11
                                        )       Time: 9:30 a.m.
16   LOUISE BOOTH et al.                )       Dept. LJO
                                        )
17         Defendants.                  )
                                        )
18
19         IT IS HEREBY STIPULATED BETWEEN COUNSEL FOR THE
20   GOVERNMENT AND COUNSEL FOR DEFENDANT AS FOLLOWS:
21         That the case of LOUISE BOOTH be continued until March 11, 2011, the
22   date set for the sentencing of her husband and codefendant VINCENT STEVEN
23   BOOTH;
24         That the disposition of LOUISE BOOTH’s case is dependent upon the
25   disposition of her codefendant VINCENT STEVEN BOOTH’s case;
26         That defendant LOUISE BOOTH hereby waives any application of the
27
28                                          1
      Case 1:09-cr-00142-NONE Document 88 Filed 11/12/10 Page 2 of 2


 1   Speedy Trial Act, 18 U.S.C. § 1361, and hereby consents to a continuance of her
 2   case to coincide with codefendant STEVEN VINCENT BOOTH’s case.
 3
 4   DATED: November 11, 2010             /k/Katherine Hart
                                          KATHERINE HART, Attorney for
 5                                        LOUISE BOOTH
 6
     DATED: November 11, 2010             /Mark Cullers
 7                                        MARK CULLERS, Chief, Fresno Office,
                                          OFFICE OF THE UNITED STATES
 8                                        ATTORNEY
 9
10                                      ORDER
11         GOOD CAUSE APPEARING, it is hereby ordered as follows:
12         That the case of LOUISE BOOTH be continued until March 11, 2011, to
13   coincide with the disposition and sentencing of codefendant STEVEN VINCENT
14   BOOTH.
15   IT IS SO ORDERED.
16   Dated:    November 12, 2010           /s/ Lawrence J. O'Neill
     b9ed48                            UNITED STATES DISTRICT JUDGE
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